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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA               :     Case No. 1:16-cr-00154-NLH
                                       :
      Plaintiff,                       :
                                       :     MOTION FOR RELIEF FROM
                   v.                  :     ERISA SECTION 411 DEBARMENT
                                       :
JOSHUA GAYL                            :
                                       :     Judge: Hon. Noel L. Hillman
      Defendant.                       :

                                      ORDER

      In consideration of Defendant Joshua Gayl’s Motion for Relief from ERISA Section

411 Debarment pursuant to 29 U.S.C. § 1111(a), the Court hereby ORDERS the Motion

is GRANTED and issues Defendant an Exemption from ERISA Section 411 Debarment.



Dated: _______________                       ________________________________
                                             NOEL L. HILLMAN
                                             UNITED STATES DISTRICT JUDGE
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                    :      Case No. 1:16-cr-00154-NLH
                                            :
       Plaintiff,                           :
                                            :      MOTION FOR RELIEF FROM
                      v.                    :      ERISA SECTION 411 DEBARMENT
                                            :
JOSHUA GAYL                                 :
                                            :      Judge: Hon. Noel L. Hillman
       Defendant.                           :

   DEFENDANT’S MOTION FOR RELIEF FROM ERISA SECTION 411 DEBARMENT
                    PURSUANT TO 29 U.S.C. § 1111(a)

       Defendant, Joshua Gayl, by and through counsel, moves for an order granting an

exemption from the debarment of ERISA Section 411, pursuant to the statute’s exemption

procedures, as codified in 29 U.S.C. § 1111(a). As described in Defendant’s Memorandum

of Law and Affidavit supporting this motion Defendant has been offered a position in a firm

with an ERISA component. ERISA Section 411 bars him from accepting this position, unless

this Court finds that Defendant has demonstrated rehabilitation since commission of the

underlying offense and that he is not a danger to this organization. The grounds for this Motion

are fully set forth in Defendant’s Memorandum of Law and Affidavit, incorporated here and

filed with this Motion.     Undersigned counsel requests a hearing be scheduled via

videoconference.

                                                   Respectfully Submitted,

Dated: July 6, 2020                                 /s/ Ellen C. Brotman
                                                   Attorney for Defendant, Joshua Gayl
                                                   Ellen C. Brotman, Esq., PA Id. # 71775
                                                   Brotman Law
                                                   One South Broad Street, Suite 1500
                                                   Philadelphia, Pennsylvania 19107
                                                   (215) 609-3247
                                                   ebrotman@ellenbrotmanlaw.com
